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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


BROIDY CAPITAL MANAGEMENT LLC and
ELLIOTT BROIDY,

                       Plaintiffs,                         Civil Action No. 1:19-cv-00150-DLF

             v.

NICHOLAS D. MUZIN, GREGORY HOWARD,
and STONINGTON STRATEGIES LLC,

                       Defendants.


                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed R. Civ. P. 41, IT IS HEREBY STIPULATED AND AGREED between

Plaintiffs Broidy Capital Management, LLC and Elliott Broidy and Defendants Nicolas D.

Muzin, Stonington Strategies LLC, and Gregory Howard, through their respective counsel, that

the above-captioned action is voluntarily dismissed, with prejudice, without interest or costs to

any party.


Dated: April 8, 2024

Respectfully submitted,


 KASOWITZ BENSON TORRES LLP                         WILEY REIN LLP

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